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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

BRYAN JORDAN,                         )
                                      )        CIVIL ACTION
      PLAINTIFF,                      )        FILE NO.
                                      )        Jury Trial Demanded
V.                                    )
                                      )
GPS HOSPITALITY, LLC,                 )
                                      )
      DEFENDANT.                      )

               PLAINTIFF BRYAN JORDAN’S COMPLAINT

      Comes Now, Plaintiff Bryan Jordan who files his Complaint against

Defendant GPS Hospitality, LLC., (hereafter “GPS”), and alleges as follows:

                           I.    Nature of Complaint

                                          1.

      Plaintiff seeks to recover unpaid work time, unpaid overtime, liquidated

damages and attorney’s fees and costs for all hours worked in excess of 40 hours in

a single workweek constituting violations of the Fair Labor Standards Act, 29

U.S.C. Secs. 203, et. seq. (hereafter “FLSA”).
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                      II.    JURISDICTION AND VENUE

                                         2.

      This Court has original jurisdiction over cases brought to recover unpaid

overtime pursuant to the FLSA which provides, inter alia, that "[a]n action to

recover ... may be maintained ... in any Federal or State court of competent

jurisdiction," 29 U. S. C. §216(b).

                                         3.

      Plaintiff resides at 198 Scott Street, N.W., Atlanta, Georgia, 30314, within

the geographic boundary of the United States District Court, Northern District of

Georgia, Atlanta Division.

                                         4.

      Plaintiff has been employed by GPS from approximately 07/27/2020 until

01/23/2021, at a Burger King stores including: Burger King, 26 Peyton Road, S.W.,

Atlanta, Georgia 30311, within the geographic boundary of the United States

District Court, Northern District of Georgia, Atlanta Division. Defendant’s main

office is located at: 2100 Riveredge Parkway South, Atlanta, Georgia 30328, within

the geographic boundary of the United States District Court, Northern District of

Georgia, Atlanta Division.
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                                        5.

      Plaintiff alleges violations of the FLSA in that (1) he was not paid overtime

for work performed in excess of 40 hours in a single work, and alleges that these

violations of the FLSA occurred at Burger king stores, within the geographic

boundary of the United States District Court, Northern District of Georgia, Atlanta

Division.

                                        6.

      A substantial part of the alleged actions and omissions that give rise to

Plaintiff’s FLSA claims against Defendant are alleged to have occurred within the

geographic boundary of the United States District Court, Northern District of

Georgia, Atlanta Division, such that venue in this Court is proper pursuant to 28

U.S.C. Sec. 1367.

                         III.   PARTIES AND FACTS

                                        7.

      Plaintiff was employed by Defendant from approximately 07/27/2020 to

01/23/2021, within the meaning of the FLSA, 29 U.S.C. sec. 203(e).
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                                             8.

         During the dates alleged in paragraph 7 of this Complaint, Plaintiff was an

employee of Defendant, who was an employer engaged in interstate commerce

within the meaning of 29 U.S.C. Sec. 207 (a).

                                             9.

         Plaintiff was hired for the position of District Leader at a salary of $75,000.00

per year with possible bonus.

                                            10.

         Plaintiff was placed in a trainee status for the District Leader position when

hired.

                                            11.

         During his entire employment, Plaintiff remained in a trainee status for a

District Leader position.

                                            12.

         During his entire employment, Plaintiff was never authorized to perform the

job duties and responsibilities of a District Leader.
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                                            13.

      During his entire employment, Plaintiff was never assigned or responsible for

specified district, territory, or assigned stores over which he performed a District

Leader’s job duties and responsibilities.

                                            14.

      During his entire employment, Plaintiff was never a trainer and never

performed a Top Right Training Manager’s job duties and responsibilities.

                                            15.

      At no time during his employment was Plaintiff assigned to a specific store as

a Restaurant General Manager.

                                            16.

      At no time during his employment was Plaintiff assigned to a specific store as

a Restaurant Assistant Manager.

                                            17.

      At no time during his employment was Plaintiff assigned to a specific store as

a Shift Leader.
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                                        18.

      At no time during his employment was Plaintiff’ primary duty managing the

enterprise, or managing a customarily recognized department or subdivision of the

enterprise.

                                        19.

      At no time during his employment was Plaintiff’ primary duty to customarily

and regularly direct the work of at least two or more other full-time employees or

their equivalent.

                                        20.

      At no time during his employment did Plaintiff have the authority to hire or

fire other employees, nor was Plaintiff asked for nor did he provide suggestions and

recommendations as to the hiring, firing, advancement, promotion or any other

change of status of other employees which recommendations were given particular

weight.

                                        21.

      At no time during his employment did Plaintiff have the authority to set store

personnel schedules.
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                                        22.

      At no time during his employment did Plaintiff have the authority to discipline

employees.

                                        23.

      At no time during his employment did Plaintiff have the authority to evaluate

employees.

                                        24.

      At no time during his employment did Plaintiff have the authority to make

recommendations about raises, promotions, etc. for other employees.

                                        25.

      At no time during his employment did Plaintiff have the authority to set or

have any budget reporting responsibilities.

                                        26.

      At no time during his employment did Plaintiff have any eligibility for bonus

or pay programs like a store or area manager, assistant manager or District Leader.

                                        27.

      At no time during his employment did Plaintiff have the responsibility or

authority to sign off on any weekly, monthly, or periodic store reports as required

by the Store Manager or Assistant Store manager positions.
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                                         28.

      At no time during his employment did Plaintiff have the responsibility or

authority to perform the duties of a Restaurant General Manager (RGM) with overall

responsibility for managing daily operations of a single restaurant (10-45

employees), ensuring delivery on guest satisfaction, and ensuring desired restaurant

outcomes (i.e., increased sales, profitability, and employee retention).

                                         29.

      At no time during his employment did Plaintiff have the responsibility or

authority to perform the duties of a Restaurant General Manager (RGM) with overall

responsibility for overseeing the financial controls, operations, people development,

Guest service and BKC compliance within the restaurant across all shifts.

                                         30.

      At no time during his employment did Plaintiff directly manage Team

Members, Shift Coordinators and Assistant Managers.

                                         31.

      During his employment was not exempt from overtime requirements of the

FLSA under the executive exemption.
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                                         32.

      During his employment was not exempt from overtime requirements of the

FLSA under the administrative exemption.

                                         33.

      During his employment, Plaintiff was entitled to overtime pay at a rate of 1 ½

times his Regular Rate of pay for hours in excess of 40 hours in a single work week.

                                         34.

      During Plaintiff’s employment, he was not required to submit his actual time

worked to Defendant.

                                         35.

      During Plaintiff’s employment, Defendant did not maintain accurate records

of the time Plaintiff actually worked.

                                         36.

      Plaintiff worked in excess of forty hours in some work weeks and was not

paid overtime and was not paid overtime at the FLSA mandated overtime rate.

                                COUNT I.
                         VIOLATIONS OF THE FLSA.

                                         37.

      Plaintiff incorporates be reference as if fully restated here, the preceding

Paragraphs of Plaintiff’s Complaint.
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                                          38.

         Defendant’s failure to pay Plaintiff for all time worked in excess of forty-

hours in a single work week at the proper overtime rate, constitutes a violation of the

overtime provisions of the FLSA.

                                          39.

         Defendant was aware of its duty to comply with the FLSA during the times of

Plaintiff’s employment with Defendant.

                                          40.

         Defendant’s failure to pay Plaintiff for all work which Defendant knew or

should have known was performed by Plaintiff and failure to pay overtime for hours

worked in excess of forty in a single work week, constitute willful violations of the

FLSA within the meaning of 29 U.S.C. sec. 255(a) such that that the appropriate

statue of limitations to be applied to Defendant’s violations is a three-year period.

                              PRAYER FOR RELIEF

                                          41.

         Wherefore, Plaintiff Bryan Jordan requests a jury trial and damages in the

form of for violations of the FLSA: unpaid overtime, an award of liquidated damages

in an equal amount, and an award of attorney’s fees and costs, attorney’s fees and

costs.
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     Submitted this _17th_ day of March, 2021.

s/ Donald W. Benson
Donald W. Benson
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                        CERTIFICATE OF SERVICE

      Plaintiff Bryan Jordan provides a copy of this Complaint along with two

copies of a Waiver of Service of Process and a pre-addressed, pre-paid envelope to

the Registered Agent for Service of Process for Defendant on this date by U.S.

Mail addressed as follows:

                              GPS Hospitality, LLC
                        c/o Corporation Service Company
                          40 Technology Parkway South
                                    Suite 300
                             Norcross, Georgia 30092

      Submitted this 17th day of March, 2021.

s/ Donald W. Benson
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